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UNITED STATES DISTRICT COURT

 

 

 

 

DISTRICT OF MASSACHUSETTS
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United States of America, )
)
v. ) Criminal No.
)
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Defendant. )
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NOTE FROM THE JURY
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